     Case 5:17-cv-01016-JKP   Document 70      Filed 11/08/18    Page 1 of 27




                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                           SAN ANTONIO DIVISION

MISSION TOXICOLOGY, LLC., and            No. 5:17-CV-01016- DAE (lead case)
SUN CLINICAL LABORATORY, LLC,

     Plaintiffs,

v.

UNITEDHEALTHCARE INSURANCE
COMPANY, UNITEDHEALTHCARE OF
TEXAS, INC., UNITEDHEALTHCARE OF
FLORIDA, INC., and
UNITEDHEALTHCARE SERVICES, INC.,

     Defendants.

                                         No. 5:18-CV-00347 (consolidated case)
UNITEDHEALTHCARE INSURANCE
COMPANY, INC., and
UNITEDHEALTHCARE SERVICES, INC.,

     Plaintiffs,

v.

MICHAEL MURPHY, M.D., JESSE
SAUCEDO, JR., SAMANTHA MURPHY,
LYNN MURPHY, JULIE PRICER,
MISSION TOXICOLOGY LLC,
SUN CLINICAL LABORATORY, LLC, SUN
ANCILLARY MANAGEMENT, LLC,
INTEGRITY ANCILLARY
MANAGEMENT, LLC, ALTERNATE
HEALTH LAB, INC., and LMK
MANAGEMENT, LLC,

     Defendants.



             UNITED’S OPPOSITION TO INDIVIDUAL DEFENDANTS’
                 MOTION TO DISMISS UNITED’S COMPLAINT




                                     i
           Case 5:17-cv-01016-JKP                        Document 70                 Filed 11/08/18               Page 2 of 27




                                                    TABLE OF CONTENTS

I. INTRODUCTION ...................................................................................................................... 1

II. FACTUAL ALLEGATIONS.................................................................................................... 2

III. ARGUMENT & AUTHORITIES ........................................................................................... 3

      A.         United’s causes of action are not preempted by ERISA.............................................. 4

            1.           ERISA § 514(a) only preempts state law claims that “relate to” ERISA plans. .. 4

                   i.          United’s causes of action do not address an area of exclusive federal
                               concern. ......................................................................................................... 6

                   ii.         United’s causes of action do not directly affect relationships between
                               traditional ERISA entities. ............................................................................ 8

      B.         United sufficiently pled its causes of action. ............................................................... 9

            1.           United states a claim for fraud, fraudulent nondisclosure, and negligent
                         misrepresentation.................................................................................................. 9

            2.           United states a claim for fraudulent transfer. ..................................................... 12

            3.           United states a claim for tortious interference with contract.............................. 14

            4.           United states a claim for theft under the Texas Theft Liability Act................... 16

            5.           United states a claim for money had and received. ............................................ 17

      C.         United does not need to pierce the corporate veil to bring claims against the
                 Individual Defendants................................................................................................ 18

IV. CONCLUSION...................................................................................................................... 20




                                                                        ii
          Case 5:17-cv-01016-JKP                      Document 70               Filed 11/08/18             Page 3 of 27




                                               TABLE OF AUTHORITIES

Cases

Access Mediquip L.L.C. v. UnitedHealthcare Ins. Co.,
  662 F.3d 376, 382 (5th Cir. 2011) ...................................................................................... 5, 6, 9

ACS Investors, Inc. v. McLaughlin,
  943 S.W.2d 426 (Tex. 1997)..................................................................................................... 14

Aetna Health Inc. v. Health Goals Chiropractic Ctr., Inc.,
   No. 10-cv-5216, 2011 WL 1343047 (D.N.J. April 7, 2011) ..................................................... 7

Aetna Health Inc. v. Srinivasan,
  No. 10-cv-4858, 2010 WL 5392697 (D.N.J. Dec. 22, 2010) ..................................................... 7

Aetna Life Ins. Co. v. Humble Surgical Hosp., LLC,
  No. 12-cv-1206, 2016 WL 7496743, at *3 (S.D. Tex. Dec. 31, 2016)................................... 4, 6

Almont Ambulatory Surgery Ctr., LLC v. UnitedHealth Group, Inc.,
  No. 14-cv-03053, 2015 WL 12778048 (C.D. Cal. Oct. 23, 2015) ............................................. 7

Amigo Broad., LP v. Spanish Broad. Sys., Inc.,
  521 F.3d 472 (5th Cir. 2008) .................................................................................................... 14

Arapahoe Surgery Ctr. v. Cigna Healthcare, Inc.,
   No. 13-cv-3422, 2015 WL 1041515 (D. Colo. March 6, 2015) ................................................ 7

Ashcroft v. Iqbal,
  556 U.S. 662 (2009).................................................................................................................. 13

Bank of La. v. Aetna U.S. Healthcare Inc.,
  468 F.3d 237 (5th Cir. 2006) .................................................................................................. 6, 8

Blue Cross & Blue Shield of Miss. v. Sharkey-Issaquena Cmty. Hosp.,
  No. 3:17-cv-338, 2017 WL 6375954, at *1-5 (S.D. Miss. Dec. 13, 2017)............................. 2, 4

Cass v. Stephens,
  156 S.W.3d 38 (Tex. App.—El Paso 2004).............................................................................. 18

Cmty. Health Sys. Prof'l Servs. Corp. v. Hansen,
 525 S.W.3d 671 (Tex. 2017)..................................................................................................... 15

Conn. Gen. Life Ins. Co. v. Advanced Chiropractic Healthcare,
  54 F. Supp. 3d 260 (E.D. N.Y. 2014) ........................................................................................ 7

Conn. Gen. Life Ins. Co. v. Advanced Surgery Cntr. of Bethesda, LLC,
  No. 14-cv-02376, 2015 WL 4394408 (D. Md. July 15, 2015) ................................................... 7


                                                                   iii
          Case 5:17-cv-01016-JKP                         Document 70                 Filed 11/08/18               Page 4 of 27




D.C. v. Greater Washington Bd. of Trade, 506 U.S. 125 (1992).................................................... 5

Dist. Council 16 N. Cal. Health & Welfare Trust Fund v. Sutter Health,
  No. 15-cv-00735, 2015 WL 2398543 (N.D. Cal. May 19, 2015)............................................... 7

E.I. DuPont de Nemours & Co. v. Sawyer,
  517 F.3d 785 (5th Cir. 2008) .................................................................................................. 5, 6

Fustok v. UnitedHealth Group, Inc., No. 12-cv-787, 2013 WL 2189874, at *6 (S.D. Tex. May
  20, 2013) ................................................................................................................................. 4, 6

Geller v. Cty. Line Auto Sales, Inc.,
  86 F.3d 18 (2d Cir. 1996) ........................................................................................................... 7

Kaye v. Lone Star Fund v. (U.S.), L.P.,
  453 B.R. 645 (N.D. Tex. 2011) ................................................................................................ 14

Kingston v. Helm,
  82 S.W.3d 755 (Tex. App.—Corpus Christi 2002, pet. denied)............................................... 19

Leyendecker & Assocs., Inc. v. Wechter,
  683 S.W.2d 369 (Tex. 1984)..................................................................................................... 18

Lone Star Fund v. Barclays Bank,
  594 F.3d 383, 387, n. 3 (5th Cir. 2010) .................................................................................... 10

Mass. Mut. Life Ins. Co. v. Marinari,
 No. 07-cv-2473, 2009 WL 5171862 (D.N.J. Dec. 29, 2009) ..................................................... 7

Mayeaux v. La. Health Serv. & Indem. Co.,
 376 F.3d 420 (5th Cir. 2004) .................................................................................................. 5, 6

Mem’l Hosp. Sys. v. Northbrook Life Ins. Co.,
 904 F.2d 236 (5th Cir. 1990) .............................................................................................. 6, 8, 9

Mid-Town Surgical Ctr., LLP v. Blue Cross Blue Shield of Texas,
  No. CIV.A. H-11-2086, 2012 WL 3028107 (S.D. Tex. July 24, 2012) ................................... 17

Miller v. Keyser,
  90 S.W.3d 712 (Tex. 2002)................................................................................................. 18, 19

Mims v. Stewart Title Guar. Co.,
  521 F. Supp. 2d 568, 574 (N.D. Tex. 2007) ............................................................................. 17

N.Y. State Conference of Blue Cross & Blue Shield Plans v. Travelers Ins. Co.,
  514 U.S. 645 (1995).................................................................................................................... 5

Nutrishare, Inc. v. Conn. Gen. Life Ins. Co.,
  No. 13-cv-02378, 2014 WL 1028351 (E.D. Cal. Mar. 14, 2014)............................................... 7


                                                                       iv
          Case 5:17-cv-01016-JKP                        Document 70                Filed 11/08/18              Page 5 of 27




O’Hare v. Graham,
  455 F. App’x 377 (5th Cir. 2011) ....................................................................................... 18, 19

Permian Petroleum Co. v. Barrow,
  484 S.W.2d 631 (Tex. App.—El Paso 1972, reh’g denied) ............................................... 18, 19

Rimkus Consulting Grp., Inc. v. Cammarata,
  688 F. Supp. 2d 598 (S.D. Tex. 2010) ...................................................................................... 16

Sanchez v. Mulvaney,
  274 S.W.3d 708 (Tex. App.—San Antonio 2008, no pet.)....................................................... 19

Simmonds Equip., LLC v. GGR Int’l, Inc.,
  126 F. Supp. 3d 855 (S.D. Tex. 2015) ...................................................................................... 16

Southland Sec. Corp. v. INSpire Ins. Sols., Inc.,
  365 F.3d 353, 363 (5th Cir. 2004) ............................................................................................ 10

Trustees of the Nw. Laundry and Dry Cleaners Health & Welfare Trust Fund v. Burzynski,
  27 F.3d 153 (5th Cir. 1994) ........................................................................................................ 7

Tuchman v. DSC Comms. Corp.,
  14 F.3d 1061 (5th Cir. 1994) .................................................................................................... 13

U.S. Bank Nat’l Ass’n v. Verizon Comms. Inc.,
  817 F. Supp. 2d 934 (N.D. Tex. 2011) ..................................................................................... 13

U.S. Enercorp, Ltd. v. SDC Montana Bakken Expl., LLC,
  966 F. Supp. 2d 690 (W.D. Tex. 2013) .................................................................................... 15

U.S. ex rel. Grubbs v. Kanneganti,
  565 F.3d 180, 190 (5th Cir. 2009) ............................................................................................ 11

U.S. ex rel. Johnson v. Shell Oil Co.,
  183 F.R.D. 204, 206 (E.D. Tex. 1998) ..................................................................................... 11

Walker v. Anderson,
 232 S.W.3d 899 (Tex. App. 2007)............................................................................................ 13

Willard v. Humana Health Plan of Tex. Inc.,
  336 F.3d 375, 384 (5th Cir. 2003) ............................................................................................ 11

Wohlstein v. Aliezer,
 321 S.W.3d 765 (Tex. App.—Houston [14th Dist.] 2010, no pet.).......................................... 13

Statutes

29 U.S.C. § 1001............................................................................................................................. 5



                                                                      v
          Case 5:17-cv-01016-JKP                        Document 70                Filed 11/08/18              Page 6 of 27




29 U.S.C. § 1144............................................................................................................................. 4

Tex. Bus. & Com. Code § 24.005................................................................................................. 13

Tex. Penal Code § 31.01 ............................................................................................................... 16

Texas Penal Code § 31.03............................................................................................................. 16

Rules

Fed. R. Civ. P. 9(b) ................................................................................................................. 11, 13




                                                                      vi
       Case 5:17-cv-01016-JKP            Document 70         Filed 11/08/18   Page 7 of 27




        Plaintiffs UnitedHealthcare Insurance Company, Inc. and UnitedHealthcare Services, Inc.

(“United”), by and through their undersigned counsel, file this opposition to the Individual

Defendants’ Motion to Dismiss Plaintiffs’ Complaint (“Motion”).

                                       I. INTRODUCTION1

        Defendants defrauded United out of $44 million by using two rural hospitals to launder

claims for lab services. Defendants submitted claims to United using the hospitals’ provider

identifications and then ordered the hospitals to transfer them the overwhelming majority – as

much as 95% – of the funds. United’s Complaint focuses on Defendants’ fraudulent conduct that

targeted United and intended to induce United to make payment for claims that it would not have

otherwise paid.       The Complaint asserts six causes of action: (1) fraud and fraudulent

nondisclosure; (2) tortious interference with contract; (3) violations of the Texas Theft Liability

Act; (4) fraudulent transfers; (5) money had and received; and (6) negligent misrepresentation.

        This is Defendants’ second round of motion to dismiss briefing. After this case was

consolidated, the Court permitted Defendants leave to refile their motion to dismiss. Instead of

refiling the same motion, Defendants split the briefing into two: filing a brief on behalf of the

“Lab Defendants” and a brief on behalf of the “Individual Defendants.” Both motions essentially

assert the same faulty arguments.

        The Individual Defendants first argue that because some of the funds that they are alleged

to have defrauded came from ERISA plans, United’s causes of action are “conflict” preempted

by ERISA § 514(a). Yet, this argument subverts the primary purpose of ERISA (protecting

ERISA plans and beneficiaries), which is the hallmark of the test for conflict preemption.




        1
            All emphases supplied by counsel unless otherwise noted.


United’s Opposition to Individual Defendants’Motion to Dismiss                               Page 1
       Case 5:17-cv-01016-JKP            Document 70         Filed 11/08/18   Page 8 of 27




Indeed, courts around the country have uniformly rejected the Individual Defendants’ superficial

preemption argument, including a court in this Circuit that rejected the same argument made by

several of the same Defendants.2 ERISA was never intended to protect third parties who defraud

ERISA plans.

        The Individual Defendants’ second argument is that United’s causes of action fail to state

a claim under Rules 9(b) and 12(b)(6). This argument plainly ignores the well-plead factual

allegations in United’s Complaint.

        The Individual Defendants’ third and final argument is that they cannot be liable because

United has not pierced the corporate veil. This argument fails to address the longstanding rule in

Texas that allows for personal liability where individuals knowingly participate in fraud. The

Individual Defendants’ Motion should be denied.

                                 II. FACTUAL ALLEGATIONS

        United alleges that Defendants engineered and executed a fraudulent scheme against

United, which caused United to pay approximately $44 million for fraudulent lab services

claims. [See ECF No. 1.]3 Defendants Michael Murphy, M.D., Jesse Saucedo, Jr., Samantha

Murphy, Lynn Murphy, and Julie Pricer (collectively “Individual Defendants”) operated this

scheme through, among other entities, Defendants Mission Toxicology (“Mission”), Sun Clinical

Laboratory (“Sun”), Sun Ancillary Management (“SAM”), Integrity Ancillary Management

(“IAM”), Alternate Health Lab, Inc. (“AHL”), and LMK Management (“LMK”) (collectively

“Entity Defendants” or “Lab Defendants”). [See id.]


        2
         Blue Cross & Blue Shield of Miss. v. Sharkey-Issaquena Cmty. Hosp., No. 3:17-cv-338,
2017 WL 6375954, at *1-5 (S.D. Miss. Dec. 13, 2017).
       3
         ECF No. 1 refers to United’s Complaint in the consolidated case, Case No. 5:18-CV-
00347. The other docket citations reference filings in the lead case, Case No. 5:17-CV-01016.



United’s Opposition to Individual Defendants’Motion to Dismiss                               Page 2
        Case 5:17-cv-01016-JKP           Document 70         Filed 11/08/18   Page 9 of 27




        Defendants’ scheme depended on the submission of claims that falsely represented that

lab services were referred to and performed by Newman Memorial Hospital (“NMH”) and

Community Memorial Hospital (“CMH”), and resulted in payments to those hospitals that

Defendants transferred to their own accounts.         [Id. ¶ 31.] Defendants induced lab testing

referrals from physicians by offering kickbacks and/or falsely representing to referral sources

that Sun and Mission’s lab services are “in-network” with United. [Id. ¶ 36.] Defendants used

AHL to perform the laboratory tests, but then IAM billed United as though the rural hospitals

performed the services. [Id. ¶ 64.] By billing as though the services were performed by the rural

hospitals, Defendants circumvented fraud prevention measures, received the financial benefits of

being in-network providers (although they were not), and avoided patient complaints about

questionable services and inflated charges. [Id. ¶ 65.] To disguise the scheme, Defendants

forged lab reports to make it appear that the rural hospitals performed the lab services even

though they were performed by AHL.            [Id. ¶ 68.]    After United paid the rural hospitals,

Defendants instructed hospital employees to wire those funds to Sun, Mission, IAM, and their

affiliates. [Id. ¶ 74.]

        United’s Complaint provides numerous representative examples of the fraudulent

submissions Defendants made under the rural hospitals’ billing credentials, as well as many

examples of fraudulent transfers made at Defendants’ direction. [Id. ¶¶ 84-95; 106-117.]

                              III. ARGUMENT & AUTHORITIES

        The Individual Defendants argue that: (A) ERISA preempts United’s causes of action,

(B) United’s causes of action lack sufficient particularity and fail to state a claim, and (C) the




United’s Opposition to Individual Defendants’Motion to Dismiss                               Page 3
      Case 5:17-cv-01016-JKP            Document 70         Filed 11/08/18   Page 10 of 27




Individual Defendants cannot be liable without piercing of the corporate veil. All of these

arguments fail—the Motion should be denied in its entirety.4

A.      United’s causes of action are not preempted by ERISA.

        The Individual Defendants argue that United’s causes of action are “conflict” preempted

by ERISA 29 U.S.C. § 1144. [ECF No. 60, pp. 5-10.] However, the Individual Defendants’

argument has been repeatedly rejected by courts in this Circuit and around the country. In short,

the fact that ERISA plans happen to be among the victims of Defendants’ fraudulent scheme

does not mean that preemption shields Defendants from liability under Texas law. See Aetna Life

Ins. Co. v. Humble Surgical Hosp., LLC, No. 12-cv-1206, 2016 WL 7496743, at *3 (S.D. Tex.

Dec. 31, 2016) (holding Aetna’s fraud claims against a provider for monies that “[the provider]

tricked [Aetna] into paying” were not preempted, as ERISA “plans are merely the context of [the

provider’s] fraud”); Blue Cross & Blue Shield of Miss., 2017 WL 6375954, at *1-5; Fustok v.

UnitedHealth Grp., Inc., No. 12-cv-787, 2013 WL 2189874, at *6 (S.D. Tex. May 20, 2013)

(holding United’s state law causes of action premised on a provider executing a fraudulent

billing scheme were not preempted by ERISA).

        1.      ERISA § 514(a) only preempts state law claims that “relate to” ERISA plans.

        ERISA preempts “any and all State laws insofar as they may now or hereafter relate to

any employee benefit plan.” 29 U.S.C. § 1144(a). While observing that ERISA’s conflict

preemption language is “clearly expansive,” the Supreme Court has specifically stated that

“[p]re-emption does not occur if the state law has only a tenuous, remote, or peripheral




        4
           United submits that the law pertaining to this Motion is clear and that oral argument is
unnecessary. United, however, will be prepared to provide oral argument should the Court find
it useful to its decision.


United’s Opposition to Individual Defendants’Motion to Dismiss                               Page 4
      Case 5:17-cv-01016-JKP            Document 70         Filed 11/08/18   Page 11 of 27




connection with covered plans, as is the case with many laws of general applicability.” N.Y. State

Conference of Blue Cross & Blue Shield Plans v. Travelers Ins. Co., 514 U.S. 645, 661 (1995)

(“Travelers”) (quoting D.C. v. Greater Washington Bd. of Trade, 506 U.S. 125, 130. n.1 (1992)).

        Attempting to define the scope of what “relates to” employee benefit plans, the Supreme

Court has “declined to apply an ‘uncritical literalism’ to the phrase, and observed that ‘[w]e

simply must go beyond the unhelpful text and the frustrating difficulty of defining its key term,

and look instead to the objectives of the ERISA statute as a guide to the scope of the state

law that Congress understood would survive.’” Access Mediquip L.L.C. v. UnitedHealthcare

Ins. Co., 662 F.3d 376, 382 (5th Cir. 2011) (“Access”), aff’d on reh’g, 698 F.3d 229 (5th Cir.

2012) (en banc), cert. denied, –– U.S. ––, 133 S.Ct. 1467 (2013) (quoting Travelers, 514 U.S. at

656). ERISA’s “objectives include establishing uniform national safeguards ‘with respect to the

establishment, operation, and administration of [employee benefit] plans,’ and ‘establishing

standards of conduct, responsibility, and obligation for fiduciaries of employee benefit plans.’”

Mayeaux v. La. Health Serv. & Indem. Co., 376 F.3d 420, 432 (5th Cir. 2004) (quoting 29 U.S.C.

§ 1001(a), (b) (2000)). “The basic thrust of [§ 1144(a)], then, was to avoid a multiplicity of

regulation in order to permit the nationally uniform administration of employee benefit plans.”

Travelers, 514 U.S. at 657.

        Based on these objectives, the Fifth Circuit has adopted “a two-part test when a defendant

argues that a claim is preempted by ERISA.” E.I. DuPont de Nemours & Co. v. Sawyer, 517 F.3d

785, 799-800 (5th Cir. 2008). To successfully assert ERISA preemption, a defendant must prove

that: (1) the claim “addresses an area of exclusive federal concern, such as the right to receive

benefits under the terms of the Plan; and (2) the claim directly affects the relationship among

traditional ERISA entities—the employer, the plan and its fiduciaries, and the participants and



United’s Opposition to Individual Defendants’Motion to Dismiss                               Page 5
      Case 5:17-cv-01016-JKP            Document 70         Filed 11/08/18   Page 12 of 27




beneficiaries.” Bank of La. v. Aetna U.S. Healthcare Inc., 468 F.3d 237, 242 (5th Cir. 2006)

(quoting Mayeaux, 376 F.3d at 432). The party asserting ERISA preemption bears the burden of

proof on both elements. Id.

              i.        United’s causes of action do not address an area of exclusive federal
                        concern.

        To determine whether a state law tort claim “addresses” an area of exclusive federal

concern,5 courts look at the conduct alleged to be tortious and assess whether that conduct is an

activity that is regulated by ERISA’s statutory framework. See Access, 662 F.3d at 385-86. By

looking to the conduct at issue, courts protect ERISA’s statutory objectives, while preventing

ERISA § 514(a) from “encompass[ing] virtually all state law.” Id. at 382.6

        United’s causes of action do not address an area of exclusive federal concern because the

conduct that is alleged to be tortious – Defendants’ intentional submission of false, misleading,

or incomplete information – is not an area Congress intended to regulate when it enacted ERISA.

Blue Cross, 2017 WL 6375954, at *4; Fustok, 2013 WL 2189874, at *6; Aetna Life Ins. Co.,




        5
          For purposes of ERISA § 514(a), “areas of exclusive federal concern” are those that
Congress sought to exclusively control and regulate by enacting ERISA, which include the
management and administration of ERISA plans. See Mayeaux, 376 F.3d at 432; Mem’l Hosp.
Sys. v. Northbrook Life Ins. Co., 904 F.2d 236, 245, n.12 (5th Cir. 1990).
        6
          Compare Mayeaux, 376 F.3d at 432-33 (preempting claims for negligence and unfair
trade practices because the conduct at issue was the ERISA plan administrator’s “handling,
review, and disposition of a request for coverage[,]” which are activities exclusively regulated by
ERISA’s statutory framework) with Access, 662 F.3d at 386 (state law negligent
misrepresentation claim was not preempted because the conduct at issue – an ERISA plan
administrator’s alleged misrepresentations to providers – was not “a domain of behavior that
Congress intended to regulate with the passage of ERISA.”) and Sawyer, 517 F.3d at 799-800
(state law claims based on an employer’s misrepresentations were not preempted, even though
the claims specifically sought ERISA benefits as damages, because plaintiffs did not need to
“prove that any aspect of [the ERISA plan’s administration] was improper” to prevail on their
claims and, as such, the claims did “not intrude into federal matters respecting the duties and
standards of conduct for an ERISA plan administrator.”).


United’s Opposition to Individual Defendants’Motion to Dismiss                               Page 6
      Case 5:17-cv-01016-JKP            Document 70         Filed 11/08/18   Page 13 of 27




2016 WL 7496743, at *3; Almont Ambulatory Surgery Ctr., LLC v. UnitedHealth Grp., Inc., No.

14-cv-03053, 2015 WL 12778048, at *24-31 (C.D. Cal. Oct. 23, 2015) (rejecting preemption

against very similar state law claims, “the Court continues to rely on the purpose behind § 514

and the nature of the conduct at issue in this case.”).7

        Nevertheless, the Individual Defendants attempt to frame United’s causes of action as

relating to the administration of benefits [ECF No. 60, p. 6] and disingenuously assert that

“United is alleging that the plans were incorrectly administered[.]” [Id., p. 8.] United’s causes of

action do not challenge whether benefits were administered correctly, but rather whether

Defendants supplied United with truthful and/or complete information in a manner consistent



        7
           See also Trs. of the Nw. Laundry and Dry Cleaners Health & Welfare Trust Fund v.
Burzynski, 27 F.3d 153, 157 (5th Cir. 1994) (affirming judgment against provider who
committed fraud, under Texas law, by submitting claims for reimbursement and failing to
disclose material information); Geller v. Cty. Line Auto Sales, Inc., 86 F.3d 18, 23 (2d Cir. 1996)
(fraud claims brought by plan not preempted because “[t]he [ERISA] plan was only the context
in which this garden variety fraud occurred.”); Trs. Of AFTRA Health Fund v. Biondi, 303 F.3d
765, 779 (7th Cir. 2002) (holding ERISA preemption did not apply and that a person’s “decision
to commit fraud in the context of an employee benefit plan does not immunize him from tort
liability under state law”); Conn. Gen. Life Ins. Co. v. Advanced Surgery Ctr. of Bethesda, LLC,
No. 14-cv-02376, 2015 WL 4394408, at *17 (D. Md. July 15, 2015) (insurer’s fraud and
negligent misrepresentation claims not preempted because “the core allegations of misconduct . .
. relate to the [provider-defendants’] fraudulent or negligent misrepresentations”); Dist. Council
16 N. Cal. Health & Welfare Trust Fund v. Sutter Health, No. 15-cv-00735, 2015 WL 2398543,
at *1-6 (N.D. Cal. May 19, 2015) (ERISA did not preempt plan’s unfair competition claim);
Arapahoe Surgery Ctr. v. Cigna Healthcare, Inc., No. 13-cv-3422, 2015 WL 1041515, at *6–7
(D. Colo. March 6, 2015) (ERISA did not preempt insurer’s state law claims against surgery
center); Conn. Gen. Life Ins. Co. v. Advanced Chiropractic Healthcare, 54 F. Supp. 3d 260, 264-
68 (E.D. N.Y. 2014) (ERISA did not preempt insurer’s claims for fraud, unjust enrichment, and
money had and received); Nutrishare, Inc. v. Conn. Gen. Life Ins. Co., No. 13-cv-02378, 2014
WL 1028351, at *5-8 (E.D. Cal. March 14, 2014) (ERISA did not preempt insurer’s state
statutory and common law claims); Aetna Health Inc. v. Health Goals Chiropractic Ctr., Inc.,
No. 10-cv-5216, 2011 WL 1343047, at *3–6 (D.N.J. April 7, 2011) (ERISA did not preempt
insurer’s common law claims); Aetna Health Inc. v. Srinivasan, No. 10-cv-4858, 2010 WL
5392697, at *3 (D.N.J. Dec. 22, 2010); Mass. Mut. Life Ins. Co. v. Marinari, No. 07-cv-2473,
2009 WL 5171862, at *6-9 (D.N.J. Dec. 29, 2009) (ERISA did not preempt insurer’s claim
under state fraud statute).


United’s Opposition to Individual Defendants’Motion to Dismiss                                Page 7
      Case 5:17-cv-01016-JKP            Document 70         Filed 11/08/18   Page 14 of 27




with Defendants’ independent obligations under Texas law. See Mem’l, 904 F.2d at 250; Access,

662 F.3d at 385-86; Bank of La., 468 F.3d at 243; Aetna Life Ins. Co., 2016 WL 7496743, at *3;

Blue Cross, 2017 WL 6375954, at *4. Non-ERISA entities’ conduct, e.g., Defendants’

misrepresentations, is not an area of exclusive federal concern, and using ERISA conflict

preemption to bar United’s claims against them does nothing to advance ERISA’s goals. See

Mem’l, 904 F.2d at 249-50. Indeed, it is axiomatic that Congress did not enact ERISA § 514(a)

to supplant state law governing the accuracy with which non-ERISA entities provide information

about their services to others. Id.; see also Lewis, 343 F.3d at 544.

             ii.        United’s causes of action do not directly affect relationships between
                        traditional ERISA entities.

        The traditional ERISA entities are the employer, the plan and its fiduciaries, and the

participants and beneficiaries. Mem’l, 904 F.2d at 245. Medical providers, billing companies,

management companies, and their executives are not traditional ERISA entities, and no part of

ERISA regulates the relationship between medical providers and plan fiduciaries or

administrators. See Mem’l, 904 F.2d at 249; Access, 662 F.3d at 385-86; Blue Cross, 2017 WL

6375954, at *5.

        When determining whether claims “directly address the relationship between traditional

ERISA entities,” “the critical distinction is not whether the parties to a claim are traditional

ERISA entities in some capacity, but instead whether the relevant state law affects an aspect of

the relationship that is comprehensively regulated by ERISA.” Bank of La., 468 F.3d at 243.

Applying Texas law to Defendants’ conduct in this case will not affect the relationship between

traditional ERISA entities. See id.; Access, 662 F.3d at 385-86.

        Defendants are not traditional ERISA entities. See Mem’l, 904 F.2d at 249. Nor is United

a traditional ERISA entity with respect to the claims it asserts in this case. A party may qualify


United’s Opposition to Individual Defendants’Motion to Dismiss                               Page 8
      Case 5:17-cv-01016-JKP            Document 70         Filed 11/08/18   Page 15 of 27




as a fiduciary under ERISA for some purposes but not others. Blue Cross, 2017 WL 6375954, at

*5. However, in seeking to recover damages for its losses due to “fraudulently submitted”

claims, United is not acting as a plan fiduciary. Id. Accordingly, United’s claims in this case do

not implicate the relationship among traditional ERISA entities.

        Ultimately, United’s Complaint “concern[s] the relationship between the plan and third-

party, non-ERISA entities,” and the veracity of information supplied in the course of that

relationship “is not a domain of behavior that Congress intended to regulate with the passage of

ERISA.” Access, 662 F.3d at 386 (citing Mem’l, 904 F.2d at 247). The Court should reject the

Individual Defendants’ ERISA preemption argument.

B.      United sufficiently pled its causes of action.

        The Individual Defendants argue that United failed to state a claim for (1) fraud,

fraudulent nondisclosure, and negligent misrepresentation, (2) fraudulent transfer, (3) tortious

interference with contract, (4) theft under the Texas Theft Liability Act, and (5) money had and

received.    [ECF No. 60, pp. 10-18.]       As explained below, United more than satisfied the

applicable pleading requirements for each cause of action.

        1.      United states a claim for fraud, fraudulent nondisclosure, and negligent
                misrepresentation.

        The Individual Defendants argue that “United’s pleadings are deficient with regards to

the level of specificity when taking into account the Fifth Circuit’s heightened pleading standard

and United’s use of group pleading.” [ECF No. 60, p. 11.] This conclusory argument ignores

the dozens of paragraphs of specific facts and thousands of specifically identified fraudulent

claims alleged in United’s Complaint.

        The Individual Defendants’ “group pleading” doctrine is based on a misinterpretation and

misapplication of the doctrine. This doctrine, which originates out of the securities fraud context,


United’s Opposition to Individual Defendants’Motion to Dismiss                               Page 9
      Case 5:17-cv-01016-JKP            Document 70          Filed 11/08/18    Page 16 of 27




allows plaintiffs, when pleading a claim of fraud, “to rely on a presumption that statements in

prospectuses, registration statements, annual reports, press releases, or other group-published

information, are the collective work of those individuals with direct involvement in the everyday

business of the company.” Southland Sec. Corp. v. INSpire Ins. Sols., Inc., 365 F.3d 353, 363

(5th Cir. 2004) (internal quotation marks omitted). “Under this doctrine, the plaintiff need not

allege any facts demonstrating an individual defendant’s participation in the particular

communication containing the misstatement or omission where the defendants are ‘insiders or

affiliates’ of the company.” Id. Courts that permit the use of the group pleading doctrine

“allow[ ] unattributed corporate statements to be charged to one or more individual defendants

based solely on their corporate titles.” Id.

        United’s Complaint does not rely on or attempt to rely on the group pleading doctrine.

Nowhere in the Complaint does United assert that one of the Individual Defendants is liable for

fraud purely because of his or her position. In reality, the Individual Defendants’ group pleading

argument amounts to nothing more than an assertion that United did not plead sufficient detail as

to the fraudulent acts undertaken by the Individual Defendants. But, as explained below, such an

assertion is not accurate.

        United’s    Complaint     pleads       fraud,   fraudulent   nondisclosure,   and   negligent

misrepresentation as to the Individual Defendants with the requisite specificity.             Fraud,

fraudulent nondisclosure, and negligent misrepresentation claims are subject to Rule 9(b), which

requires a claim to state with particularity the circumstances constituting fraud or mistake.8 “A




        8
         A claim for negligent misrepresentation is subject to the same heightened pleading
standard as fraud when it is based on the same operative facts as a fraud claim. Lone Star Fund
v. Barclays Bank, 594 F.3d 383, 387, n. 3 (5th Cir. 2010).


United’s Opposition to Individual Defendants’Motion to Dismiss                                Page 10
      Case 5:17-cv-01016-JKP            Document 70         Filed 11/08/18    Page 17 of 27




claim generally satisfies the particularity standard of Rule 9(b) when the plaintiff pleads the time,

place, and contents of the false representation and the identity of the person making the

representation.” U.S. ex rel. Grubbs v. Kanneganti, 565 F.3d 180, 190 (5th Cir. 2009).9 A

plaintiff can generally aver conditions of the mind, such as the defendant’s knowledge and intent

in making the false statement. Fed. R. Civ. P. 9(b); see also Willard, 336 F.3d at 384.

        United’s fraud, nondisclosure, and negligent misrepresentation causes of action satisfy

Rule 9(b)’s particularity requirement because United specifically identifies thousands of

fraudulent claims, including who submitted each claim to United, what in each claim constituted

a misrepresentation or omission, when each claim was submitted to United, where the services

were purportedly performed and from where claims were purportedly submitted, and how

Defendants profited from the submission of the fraudulent claims. [See ECF No. 1 ¶¶ 84-90;

108-113.] Further, United pled the mechanics of the fraudulent scheme, including who was

involved, each person or entity’s particular role, and how the scheme was executed. [See id. ¶¶

34-77]. United also describes what Defendants received as a result of the scheme. [See id. ¶¶

35-37; 91-98; 114-117.]

        As to the Individual Defendants, United’s Complaint includes specific allegations how

they each furthered the fraudulent scheme by knowingly directing or participating in it. See




        9
         If the facts relating to the alleged fraud are uniquely within the perpetrator’s control, see
Willard v. Humana Health Plan of Tex. Inc., 336 F.3d 375, 384 (5th Cir. 2003), or where fraud
occurred over a long period of time and consists of numerous acts, Rule 9(b) is applied less
stringently. See U.S. ex rel. Johnson v. Shell Oil Co., 183 F.R.D. 204, 206 (E.D. Tex. 1998) (“It
has been widely held that where the fraud allegedly was complex and occurred over a period of
time, the requirements of Rule 9(b) are less stringently applied.”). While United pleads that
many facts relating to the fraud are uniquely in Defendants’ possession and its causes of action
could be evaluated under the more flexible application of Rule 9(b), its fraud, nondisclosure, and
negligent misrepresentation causes of action satisfy a strict application of Rule 9(b).


United’s Opposition to Individual Defendants’Motion to Dismiss                                Page 11
      Case 5:17-cv-01016-JKP            Document 70         Filed 11/08/18    Page 18 of 27




[ECF No. 1 ¶¶ 35, 43, 51, 55, 58, 71-72, 80-82, 85-89, 93-95, 104-105, 108-112, 115, 117, 136-

140.] For instance, United’s Complaint asserts that Michael Murphy knowingly directed and

participated in the scheme by, among other acts, executing certain agreements in furtherance of

the scheme and instructing IAM to submit claims containing false and fraudulent information.

[Id. ¶ 136.]. Jesse Saucedo, Jr. knowingly directed and participated in the scheme by, among

other acts, executing certain agreements in furtherance of the scheme and making illegal

payments to induce persons to participate in the scheme,. [Id. ¶ 137.] Samantha Murphy

knowingly directed and participated in the scheme by, among other acts, taking multiple actions

to cover up complaints of fraudulent billing and instructing NMH and CMH employees to

transfer millions of dollars in furtherance of the scheme. [Id. ¶ 138]. Lynn Murphy knowingly

directed and participated in the scheme by, among other acts, managing the submission of claims

containing false and fraudulent information and creating documents meant to mislead United’s

investigators. [Id. ¶ 139.]. Finally, Julie Pricer knowingly directed and participated in the

scheme by, among other acts, managing the creation of fraudulent invoices and instructing NMH

and CMH employees to transfer money in furtherance of the scheme. [Id. ¶ 140]. United has

gone well beyond what is necessary to satisfy Rule 9(b). The Individual Defendants’ Motion

should be denied.

        2.      United states a claim for fraudulent transfer.

        The Individual Defendants contend that United has insufficiently pleaded its fraudulent

transfer claim because there is insufficient “factual particularity with respect to intent.” [ECF No.

60, p. 13.] The Individual Defendants again ignore United’s factual allegations, which

specifically identify the fraudulent transfers and explain how they were essential to the




United’s Opposition to Individual Defendants’Motion to Dismiss                               Page 12
      Case 5:17-cv-01016-JKP            Document 70         Filed 11/08/18   Page 19 of 27




successful execution of the fraudulent scheme; without the fraudulent transfers, Defendants

would not have profited.

        “A cause of action for fraudulent transfer must assert that there was actual or constructive

fraudulent intent.” [ECF No. 60, p. 13 (citing Walker v. Anderson, 232 S.W.3d 899, 914 (Tex.

App. 2007).] Actual fraudulent intent exists where transfers are made “with actual intent to

hinder, delay, or defraud any creditor.” U.S. Bank Nat’l Ass’n v. Verizon Comms. Inc., 817 F.

Supp. 2d 934, 940 (N.D. Tex. 2011) (citing Tex. Bus. & Com. Code § 24.005(a)). “[F]raudulent

intent may be inferred from a consideration of several non-exclusive factors, sometimes called

‘badges of fraud.’” Wohlstein v. Aliezer, 321 S.W.3d 765, 777 (Tex. App.—Houston [14th Dist.]

2010, no pet.) (citing Tex. Bus. & Com. Code § 24.005(b)). Under Rule 9(b), intent may be

alleged generally. As framed by the court in U.S. Bank: “The question on this motion to dismiss,

therefore, is whether the plaintiff has alleged enough facts, and with sufficient detail, for the

court to reasonably infer that the defendants intended to hinder, delay, or defraud [a third-

party’s] creditors by consummating the allegedly fraudulent transfers.” 817 F. Supp. 2d at 940,

n.1 (citing Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S.Ct. 1937, 1949 (2009)).

        Here, United alleges that the transfers were “made with the actual intent to hinder, delay,

and defraud United and in furtherance of the myriad frauds that were perpetrated against it.”

[ECF No. 1, ¶ 171.] While the Individual Defendants assert that this is a “hollow recitation,”

[ECF No. 60, p. 14], they simply ignore that United alleges facts that directly support the

allegation. [See ECF No. 1, ¶¶ 92, 93, 115-117.] Indeed, the allegation does not stand alone; read

in context with the dozens of paragraphs explaining the overarching fraudulent scheme, the

allegation of fraudulent intent is sufficient. See U.S. Bank, 817 F. Supp. 2d at 940, n.2 (citing

Tuchman v. DSC Comms. Corp., 14 F.3d 1061, 1068 (5th Cir. 1994)).



United’s Opposition to Individual Defendants’Motion to Dismiss                              Page 13
      Case 5:17-cv-01016-JKP            Document 70         Filed 11/08/18   Page 20 of 27




        The Individual Defendants also ignore that United identifies several of the “badges of

fraud” that are specifically applicable to these circumstances and are also supported by other

factual allegations. [ECF No. 1, ¶¶ 169-172.] Similar allegations have repeatedly been held to

support a claim for fraudulent transfers. See U.S. Bank, 817 F. Supp. 2d at 940 (citing Kaye v.

Lone Star Fund v. (U.S.), L.P., 453 B.R. 645, 671–72 (N.D. Tex. 2011)). The Individual

Defendants do nothing more than challenge one of those several badges, by arguing that

United’s Complaint fails to allege facts as to how “Defendants should or could have known of

NMH and CMH’s financial solvency.” [ECF No. 60, p. 14.] Even this argument ignores the

allegations in United’s Complaint. United’s Complaint alleges that Defendants targeted

financially-strained rural hospitals, like NMH and CMH, had expansive control over the

management and operation of NMH and CMH, and forced NMH and CMH to transfer the

majority of funds they received to Defendants. [ECF No. 1 ¶¶ 1-5, 50-51, 73-77, 81, 92-96, 115-

117, 172.] United has pleaded enough facts for the Court to reasonably infer that Defendants

ordered transfers with actual intent to hinder, delay, or defraud United. Thus, the Individual

Defendants’ argument fails.

        3.      United states a claim for tortious interference with contract.

        To state a claim for tortious interference with contract under Texas law, a plaintiff must

plead four elements: (1) the existence of a contract subject to interference; (2) that the defendant

willfully and intentionally interfered with the contract; (3) that the interference proximately

caused the plaintiff’s injury; and (4) that the plaintiff incurred actual damage or loss. See Amigo

Broad., LP v. Spanish Broad. Sys., Inc., 521 F.3d 472, 493 (5th Cir. 2008) (citing ACS Investors,

Inc. v. McLaughlin, 943 S.W.2d 426, 430 (Tex. 1997)). “To be legally capable of tortious




United’s Opposition to Individual Defendants’Motion to Dismiss                              Page 14
      Case 5:17-cv-01016-JKP            Document 70         Filed 11/08/18     Page 21 of 27




interference, the defendant must be a stranger to the contract with which [he or she] allegedly

interfered.” Cmty. Health Sys. Prof'l Servs. Corp. v. Hansen, 525 S.W.3d 671, 689 (Tex. 2017).

        United has stated a claim for tortious interference with contract. United’s Complaint

identifies two existing contracts: network agreements between United and NMH and United and

CMH. [See ECF No. 1, ¶¶ 79, 102, 148.] United alleges that each Defendant, with the exception

of AHL and LMK, “willfully and intentionally interfered with [those] contracts” by using CMH

and NMH to disguise out-of-network lab services so that United would incorrectly reimburse

CMH and NMH for the fraudulent claims under United’s contracts with the rural hospitals,

which was a fundamental aspect of executing the fraudulent scheme detailed throughout United’s

Complaint. [Id. ¶¶ 149-153.] And United alleges that this interference proximately caused

United’s actual loss. [Id.] These allegations are sufficient to state a claim for tortious interference

with contract. See U.S. Enercorp, Ltd. v. SDC Mont. Bakken Expl., LLC, 966 F. Supp. 2d 690,

705-06 (W.D. Tex. 2013) (Ezra, J.) (“[The plaintiff] need only allege that [the d]efendants

willfully and intentionally interfered with [a] contract and that this interference caused actual

damage.”).

        The Individual Defendants, however, contend that United must allege that Defendants

knew the terms of the contracts and intentionally interfered with those particular terms. [ECF No.

60, p. 16.] United has alleged facts from which it is more than plausible that Defendants knew of

United’s contracts with NMH and CMH and knew that they were subverting those contracts to

defraud United by using the hospitals to submit claims to be paid under the contracts, even




United’s Opposition to Individual Defendants’Motion to Dismiss                                 Page 15
      Case 5:17-cv-01016-JKP            Document 70         Filed 11/08/18   Page 22 of 27




though the hospitals did not perform the services.10 For example, United alleges that Defendants

targeted rural hospitals that have contracts with United, [ECF No. 1, ¶ 50], that Defendants took

actions to make it seem like there was a legitimate basis to bill United using the hospitals’

credentials, [id. ¶ 52], and that by billing lab services as though they were referred to and

performed by United’s Network hospitals, Defendants were able to subvert United’s two-tiered

provider system, which is intended to make health care more affordable and prevent fraud,

waste, and abuse. [See id. ¶ 65.] These allegations are more than sufficient to survive a Rule

12(b)(6) motion to dismiss.

        4.      United states a claim for theft under the Texas Theft Liability Act.

        The Individual Defendants argue that United’s Texas Theft Liability Act claim should be

“dismissed for the same reasons the fraud claims should be dismissed.” [ECF No. 60, p. 17.]

Again, this argument ignores the myriad allegations describing Defendants’ misleading,

deceptive, and fraudulent conduct.

        To state a claim for theft under the Texas Theft Liability Act, a plaintiff must plead: (1)

the plaintiff had a possessory right to property; (2) the defendant unlawfully appropriated

property in violation of the Texas Penal Code; and (3) the plaintiff sustained damages as a result

of the theft. Simmonds Equip., LLC v. GGR Int’l, Inc., 126 F. Supp. 3d 855, 870 (S.D. Tex.

2015). Under Texas Penal Code § 31.03(b)(1), intentionally taking property without the owners’

effective consent is unlawful. Consent is not effective if “induced by deception or coercion.”

Tex. Penal Code § 31.01(3)(A). “Deception” means “creating or confirming by words or conduct



        10
           The case cited by the Individual Defendants, Rimkus Consulting Grp., Inc. v.
Cammarata, 688 F. Supp. 2d 598, 674-75 (S.D. Tex. 2010), dealt with a motion for summary
judgment and was identifying ways that the plaintiffs can show that interference was willful and
intentional.


United’s Opposition to Individual Defendants’Motion to Dismiss                              Page 16
      Case 5:17-cv-01016-JKP            Document 70         Filed 11/08/18    Page 23 of 27




a false impression of law or fact that is likely to affect the judgment of another in the transaction,

and that the actor does not believe to be true.” Id.

        United sufficiently alleges Defendants’ “deception” because it identifies at least seven

different ways that Defendants intentionally misrepresented information to United, including

where lab services were referred, where lab services were performed, who performed the lab

services, the type of services that were performed, the authorization of the services, why the

services were ordered or performed, and whether the services were performed at all. [ECF No. 1,

¶¶ 84-90, 108-113.11] United’s Complaint also includes actual examples of forged lab results and

other measures that were intended to disguise Defendants’ scheme and deceive United. [Id. ¶¶

68, 69.] The Individual Defendants’ motion should be denied.

        5.      United states a claim for money had and received.

        A claim for money had and received arises under Texas law “when a party obtains money

which in equity and good conscience belongs to another.” Mims v. Stewart Title Guar. Co., 521

F. Supp. 2d 568, 574 (N.D. Tex. 2007) (internal quotation marks omitted). “The doctrine is not

based on wrongdoing on the part of the defendant but looks only to the justice of the case and

inquiries whether the defendant has received money which rightfully belongs to another.” Id.

(internal quotation marks omitted).

        Here, United has properly pled its claim for money had and received. The Individual

Defendants argue that they did nothing wrong, contending, incredibly, that “United has not

provided any facts to support its assertion that, in fairness, the money for those services belongs



        11
          A Texas Theft Liability Act claim is not subject to Rule 9(b). See Mid-Town Surgical
Ctr., LLP v. Blue Cross Blue Shield of Texas, No. 11-cv-2086, 2012 WL 3028107, at *5 (S.D.
Tex. July 24, 2012) (holding that Texas Theft Liability Act does not implicate “9(b)’s heightened
pleading standard for fraud claims”). Regardless, United’s allegations satisfy Rule 9(b).


United’s Opposition to Individual Defendants’Motion to Dismiss                                Page 17
      Case 5:17-cv-01016-JKP            Document 70         Filed 11/08/18   Page 24 of 27




to United.” [ECF No. 60, pp. 17-18]. This argument, once again, ignores the numerous

allegations of wrongdoing set forth in the Complaint. [See ECF No. 1, ¶¶ 10-11, 18, 85, 89, 112;

ECF No. 1-1.] These allegations, among dozens of others, show that justice requires the return of

the money that Defendants stole from United. Further, the Individual Defendants contend that

United fails to allege “that the Individual Defendants retained any of the funds paid to the Labs.”

[ECF No. 60, p. 18.]. But, that is not the case, as paragraphs 176, 180, 181 allege that the

Individual Defendants obtained money which rightfully belongs to United. [See ECF No. 1 ¶¶

176, 180, 181.]

C.      United does not need to pierce the corporate veil to bring claims against the
        Individual Defendants.

        The Individual Defendants argue that this Court should dismiss the claims against the

Individual Defendants “because of United’s failure to pierce the corporate veil.” [ECF No. 60,

pp. 18-19.] This argument fails because the “longstanding rule” in Texas is that a plaintiff does

not need to pierce the corporate veil to hold individuals liable for their knowing participation in

fraudulent or other tortious conduct. Miller v. Keyser, 90 S.W.3d 712, 717 (Tex. 2002). Further,

United’s Complaint includes veil-piercing allegations; the Individual Defendants simply fail to

address them. [ECF No. 1, ¶¶120, 122, 125.]

        “A corporation's [agent] is personally liable for tortious acts which he directs or

participates in during his employment.” O’Hare v. Graham, 455 F. App’x 377, 380 (5th Cir.

2011) (quoting Leyendecker & Assocs., Inc. v. Wechter, 683 S.W.2d 369, 375 (Tex. 1984)).

“Instigating, aiding, or abetting the wrongdoing constitutes participation.” Cass v. Stephens, 156

S.W.3d 38, 62 (Tex. App.—El Paso 2004). “It is not necessary that the ‘corporate veil’ be

pierced or even discussed.” Permian Petroleum Co. v. Barrow, 484 S.W.2d 631, 634 (Tex.

App.—El Paso 1972, reh’g denied); see also Kingston v. Helm, 82 S.W.3d 755, 758 (Tex.


United’s Opposition to Individual Defendants’Motion to Dismiss                              Page 18
      Case 5:17-cv-01016-JKP            Document 70         Filed 11/08/18   Page 25 of 27




App.—Corpus Christi 2002, pet. denied) (internal quotation marks omitted); Sanchez v.

Mulvaney, 274 S.W.3d 708, 712 (Tex. App.—San Antonio 2008, no pet.) (“In an action seeking

to hold an agent individually liable for his tortious or fraudulent acts, the corporate veil is not

required to be pierced.”).

        Here, United alleges that the Individual Defendants were knowing participants in the

fraud perpetrated against United. [ECF No. 1, ¶¶ 17-21, 32, 119, 121, 123, 136-140.] The

Individual Defendants are liable as principals for this conduct, so there is no need to “pierce the

corporate veil.” See O’Hare, 455 F. App’x at 380; Miller, 90 S.W.3d at 717; Permian Petroleum

Co., 484 S.W.2d at 634; Kingston, 82 S.W.3d at 758; Sanchez, 274 S.W.3d at 712. Even if

United needed to pierce the corporate veil, the Complaint includes allegations sufficient to do so.

[ECF No. 1, ¶¶120, 122, 125.] Thus, the Individual Defendants’ veil piercing argument fails.

///

///

///

///

///

///

///

///

///

///

///

///



United’s Opposition to Individual Defendants’Motion to Dismiss                              Page 19
      Case 5:17-cv-01016-JKP            Document 70         Filed 11/08/18      Page 26 of 27




                                        IV. CONCLUSION

        For all of the foregoing reasons, United respectfully requests that this Court deny the

Individual Defendants’ Motion to Dismiss.

        Dated this 8th day of November, 2018.


                                                  /s/ Scott P. Kerew
                                                  SCOTT P. KEREW, ESQ.
                                                  Georgia Bar No. 416629
                                                  Admitted to this Court
                                                  skerew@wwhgd.com
                                                  STEPHEN W. MOONEY, ESQ.
                                                  Texas Bar No. 14319100
                                                  smooney@wwhgd.com
                                                  Weinberg, Wheeler, Hudgins,
                                                        Gunn & Dial, LLC
                                                  3344 Peachtree Road, NE, Suite 2400
                                                  Atlanta, Georgia 30326
                                                  Telephone: (404) 876-2700

                                                  ANDREW G. JUBINSKY, ESQ.
                                                  Texas Bar No. 11043000
                                                  andy.jubinsky@figdav.com
                                                  RAYMOND E. WALKER, ESQ.
                                                  Texas Bar No. 24037663
                                                  ray.walker@figdav.com
                                                  Figari + Davenport, LLP
                                                  901 Main Street, Suite 3400
                                                  Dallas, Texas 75202
                                                  Telephone: (214) 939-2000

                                                  ATTORNEYS FOR THE UNITED ENTITIES




United’s Opposition to Individual Defendants’Motion to Dismiss                              Page 20
      Case 5:17-cv-01016-JKP            Document 70         Filed 11/08/18   Page 27 of 27




                                  CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that on the 8th, day of November, 2018, the foregoing was

electronically filed with the Clerk of Court using the CM/ECF system pursuant to Local Rule

5.1(d), which will automatically send notification of such filing to all counsel of record pursuant

to Local Rule 5.1(d).

David W. Navarro, Esq.
dnavarro@hfgtx.com
David Jed Williams, Esq.
jwilliams@hfgtx.com
Cassandra Garza Matheson
cmatheson@hfgtx.com
HORNBERGER FULLER & GARZA INCORPORATED
7373 Broadway, Suite 300
San Antonio, TX 78209

John J.E. Markham, Esq.
jmarkham@markhamread.com
Bridget A. Zerner, Esq.
bzerner@markhamread.com
MARKHAM & READ
One Commercial Wharf West
Boston, MA 02110

Yussuf Abdel-Aleem
yussuf@josephaleem.com
JOSEPH ALEEM & SLOWIK LLC
1355 Peachtree St. NE, Suite 700
Atlanta, GA 30309


                                                /s/ Scott P. Kerew




United’s Opposition to Individual Defendants’Motion to Dismiss                              Page 21
